
Pbarson, J.
Blythe put into the hands of one Powel, a constable, for collection, the following County order:
“ Ordered by the Court, that the County Trustee pay to Solomon Blythe, sixty-three dollars for rebuilding bridge,” &amp;c.
THOMAS HUGHES, Cl’k.
Issued 4th July, 1842.
Powel received the money, and, upon demand, refused to pay over. The question is, are the sureties upon his bond liable ? We think with his Honor, that they are not.
It is settled by State v. Mangum, 6 Ired. 369, and State v. Long, 7 Ired, 379, that the sureties of a sheriff or constable are only liable for such claims as are within the *135jurisdiction of a single justice and may be recovered by warrant.
The claim in this case was upon a County order and of course was not within the jurisdiction of a single justice, and could not have been recovered by warrant; so it falls within the very bounds of the rule above announced.
It was not the intention of the Legislature to make constables general collecting agents, except so far as relates to claims within the jurisdiction of a magistrate. This was the extent of the evil and to this the statute must be confined.
Per Curiam. Judgment affirmed.
